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 4
 5     ATTORNEYS FOR Defendant
            DANIEL ANGULO
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10                                             * * * * * * * *
11   UNITED STATES OF AMERICA,                         Case No.: 1:06 CR 00059 AWI
12               Plaintiff,
                                                             STIPULATION RE:
13         vs.                                         CONTINUANCE OF SENTENCING
14   DANIEL ANGULO,                                                  And
15               Defendant.                                      O R D E R
16
17
18          IT IS HEREBY STIPULATED by and between counsel for the
19   parties herein, that the Sentencing in the above matter currently
20   scheduled on Monday, January 25, 2010, at 8:30 a.m., in the
21   above-entitled court, be continued to Monday, February 22, 2010.
22          Counsel for the Defendant herein has received numerous
23   letters totaling approximately l6 pages, in Spanish.                            These
24   letters must be translated into English in order that counsel
25   herein may present them to the court, to Ms. Escobar and to the
26   Probation Office.            Counsel herein is in the process of obtaining
27   a translator to type these letters in English.                        Counsel feels
28   that he needs at least another 30 days to have this task
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 1   accomplished.        Additionally, we have recently received other
 2   materials which counsel wishes to address in a Sentencing
 3   Memorandum.
 4             Counsel’s office has conferred with Assistant United
 5   States Attorney, Karen Escobar, who has no objection to this
 6   continuance.
 7             Counsel respectfully requests that the Sentencing be
 8   continued to February 22, 2010.
 9             DATED:     January 20, 2010.
10                                        Respectfully submitted,
11                                        NUTTALL & COLEMAN
12
                                          By: /s/ ROGER T. NUTTALL
13
                                               ROGER T. NUTTALL
14                                             Attorneys for Defendant
                                               DANIEL ANGULO
15
16
              DATED: January 20, 2010.
17                                               /s/ KAREN ESCOBAR
                                                _______________________
18                                              KAREN ESCOBAR
                                                Assistant U. S. Attorney
19
20                                   ***********
21                                    O R D E R
22
     IT IS SO ORDERED.
23
24
     Dated:     January 20, 2010                /s/ Anthony W. Ishii
25
     0m8i78                          CHIEF UNITED STATES DISTRICT JUDGE
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